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                       IN THE UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

  IN RE:                                  §                         (CHAPTER 11)
                                          §
  DUNE ENERGY, INC.                       §               CASE NO. 15-10336-HCM
  DUNE OPERATING COMPANY                  §               CASE NO. 15-10337-HCM
  DUNE PROPERTIES, INC.                   §               CASE NO. 15-10338-HCM
                                          §
           Debtors                        §      (JOINTLY ADMINISTERED UNDER
                                          §              CASE NUMBER 15-10336)
                                          §
                                          §
  DAN LAIN, PLAN TRUSTEE                  §
                                          §
                         Plaintiff,       §
                                          §
  V.                                      §        ADVERSARY NO.
                                          §
  TRIMONT ENERGY (NOW), LLC,              §
                                          §
                         Defendant.       §




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                                     ORIGINAL COMPLAINT


  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         COMES now, DAN LAIN, in his capacity as Plan Trustee (“Plaintiff”) of the Dune

  Liquidating Plan Trust, and authorized representative of Reorganized Dune Energy, Inc.,

  Reorganized Dune Operating Company, and Reorganized Dune Properties, Inc., and files this

  original complaint (the “Complaint”) against Trimont Energy (NOW), LLC (“Defendant” or

  “Trimont”). In support of this Complaint, the Plaintiff respectfully states as follows:

                                            I.    PARTIES

         1.      Plaintiff is the plan trustee of the Dune Liquidating Plan Trust, and authorized

  representative of Reorganized Dune Energy, Inc., Reorganized Dune Operating Company, and

  Reorganized Dune Properties, Inc. (collectively, the “Debtors”).           The Liquidating Trust

  Agreement for the Dune Plan Trust (the “Trust Agreement”), is attached to the Confirmation

  Order. Article V of the Trust Agreement grants authority to the Plaintiff to commence adversary

  or other legal proceedings to pursue any Causes of Action on behalf of the Trust.

         2.      Upon information and belief, Defendant is a Texas limited liability company

  located at Trimont Plaza, Suite 450, 1305 Grandview Avenue, Pittsburgh, PA 15211. Pursuant

  to Bankruptcy Rule 7004, Defendant may be served with process by mailing a copy of the

  summons and complaint to the attention of any officer, managing or general agent, or to any

  other agent authorized to receive service of process. Service of the summons in this adversary

  proceeding may be made upon Defendant by sending the summons and a copy of the complaint

  to CT Corporation System, Defendant’s registered agent, by certified mail, return receipt

  requested, at 350 N. Saint Paul Street, Suite 2900, Dallas, TX 75201. An additional summons

  and copy of the complaint will be sent to Defendant by first class mail at Trimont Plaza, Suite

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  450, 1305 Grandview Avenue, Pittsburgh, PA 15211, with a copy to its known counsel Joe

  Esmont, Baker Hostetler, 127 Public Square, Suite 2000, Cleveland, Ohio, 44114-1214.

                                II.     JURISDICTION AND VENUE

           3.    This Court has jurisdiction over this proceeding pursuant to the provisions of 28

  U.S.C. §§ 157 (a)-(b) and 1334 (b).

           4.    This proceeding constitutes a core proceeding pursuant to 28 U.S.C. § 157 (b)(2).

           5.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409 (a).

           6.    This adversary proceeding is brought pursuant to the laws of the State of Texas

  and/or one or more of sections of title 11 of the United States Code, as amended (the

  “Bankruptcy Code”). The allegations made herein by Plaintiff are made in the alternative as

  allowed under the Federal Rules of Civil Procedure 8(e), as made applicable to this adversary by

  Bankruptcy Rule 7008.

                                III.    FACTUAL ALLEGATIONS

           7.    On March 8, 2015 (the “Petition Date”), Dune Energy, Inc., Dune Operating

  Company, and Dune Properties, Inc. (collectively, the “Debtors”) filed voluntary petitions for

  relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

           8.    On September 18, 2015, this Court entered an order [Dkt. 560] (the

  “Confirmation Order”) confirming the Chapter 11 Plan of the Debtors dated September 18, 2015

  (the “Plan”). The Debtors’ estates have been substantively consolidated under the terms of the

  Plan.

           9.    On September 30, 2015, the Debtors filed a Notice of Effective Date of the

  Chapter 11 Plan of the Debtors [Dkt. 574]. The Effective Date of the Plan was September 30,

  2015. October 30, 2015 was the deadline for filing Administrative Claims (as defined in the

  Plan).


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         10.     Pursuant to Section 3.3 of the Plan, the Reorganized Debtors shall pay allowed

  administrative claims from the Administrative and Priority Claim Reserve (as defined in the

  Plan) on the later of the Effective Date or ten days after such claim becomes allowed.

         11.     Oil Mop, LLC (including any successor or subrogor to the claims, “OMIE”) filed

  a motion on October 19, 2015, seeking allowance of an administrative expense claim in the

  amount of $1,022,880.00.       Premiere Industries, LLC (including any successor or subrogor,

  “Premiere”) filed a motion on October 21, 2015, seeking allowance of an administrative expense

  claim in the amount of $53,955.52.

         12.     The motions of OMIE and Premiere seek administrative expenses for work OMIE

  and Premiere did in cleaning up an oil spill at Garden Island Bay, LA (the “Oil Spill”). Plaintiff

  objected to the administrative expenses sought by OMIE and Premiere because they are not

  obligations of the Debtors or Reorganized Debtors, and as such, they should not be allowed or

  paid from the Administrative and Priority Claim Reserve. Rather, these are obligations of the

  Defendant.

         13.     On July 10, 2015, the Court entered its Order (A) Approving Purchase

  Agreement, (B) Authorizing Sale Free and Clear of all Liens, Claims, Encumbrances, and Other

  Interests, and (C) Granting Related Relief Trimont Energy (NOW), LLC [Dkt. 378] (the “Sale

  Order”). The Sale Order, among other things, approved the Purchase and Sale Agreement dated

  June 30, 2015 (the “PSA”) between Debtors and Defendant. A true and correct copy of the Sale

  Order, which includes the PSA, is attached hereto. One of the fields included in the assets

  purchased by Trimont was Garden Island Bay, where the Oil Spill occurred. The PSA was

  effective as of 7:00 a.m. Houston, Texas time on July 1, 2015 (the “Effective Time”). The PSA,

  in section 12.01(c), makes it clear that Trimont assumed:

                 all Liabilities relating in any way to the Assets (including Seller’s
                 operation of such Assets at any time) arising under Environmental Law or

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                 arising from, attributable to or alleged to be arising from or attributable to,
                 a violation of or the failure to perform any obligation imposed by any
                 Environmental Law or otherwise relating to the environmental condition
                 of the Assets; FOR AVOIDANCE OF DOUBT, BUYER’S
                 ASSUMPTION, AND AGREEMENT TO PAY, PERFORM OR
                 DISCHARGE SUCH LIABILITIES APPLIES REGARDLESS OF
                 WHETHER THE LIABILITIES ARE THE RESULT OF: (i) STRICT
                 LIABILITY, (ii) THE VIOLATION OF ANY LAW BY ANY PERSON
                 INCLUDING SELLER OR BY A PRE-EXISTING CONDITION OR (iii)
                 THE SOLE, CONCURRENT OR COMPARATIVE NEGLIGENCE OF
                 ANY PERSON INCLUDING SELLER

         14.     When Trimont and Debtors became aware of the Oil Spill, they entered into a first

  amendment to the PSA, which is attached to the Sale Order. The amendment specifically

  addressed the Oil Spill. It states:

                 Section 2.01 A new Section 6.08 is hereby added to the Agreement as
                 follows:
                         “Section 6.08 Seller agrees to use its best efforts from the
                 Execution Date to the Closing to clean up the Garden Island Spill in
                 accordance with accepted practices, which generally includes placing
                 booms around the affected area, removing affected vegetation, vacuuming
                 or otherwise removing the sheen and finally removing the booms,
                 including obtaining all required regulatory approvals and giving all
                 required regulatory notices (the “Clean Up”). In the event the Clean Up is
                 not completed by the Closing Date, Buyer agrees to assume the remaining
                 Clean Up responsibility. Seller will pay the first $250,000 of the Clean Up
                 costs, which will satisfy the deductible on its applicable insurance policy.
                 If there is Clean Up remaining at the Closing Date, Seller will assign
                 Buyer the insurance claim and the right to recover its remaining costs for
                 the Clean Up under the policy. Buyer will accept the failed flow line in its
                 current condition at the Closing and will be responsible for the costs of
                 replacement of the flow line if Buyer choses to replace it. Prior to the
                 Closing Date, Seller shall provide evidence to Buyer that Seller has
                 submitted this claim to its insurer and the insurer has accepted coverage
                 for the claim.”

         15.     On November 24, 2015, Defendant filed its reply to Plaintiff’s objections to the

  motions of OMIE and Premiere [Dkt. 615], in which it takes the position that it did not assume

  the liabilities for the Oil Spill pursuant to the PSA. Defendant has refused to pay such liabilities

  in breach of the PSA, thus necessitating this adversary proceeding.



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               IV.   FIRST CAUSE OF ACTION: DECLARATORY JUDGMENT

         16.     Paragraphs 1 through 15 are repeated and incorporated herein by reference.

         17.     Under the Uniform Declaratory Judgment Act, this Court has the power to declare

  rights, status and other legal relations whether or not further relief could be claimed. See 28

  U.S.C. § 2201 et seq.

         18.     The PSA is a valid and binding contract governed by Texas law.                Trimont

  assumed the liabilities for the Oil Spill, including those to OMIE and Premiere for the reasons

  stated above and according to any and all other grounds authorized by law.

         19.     Plaintiff requests that this Court declare the liabilities for the Oil Spill, including

  those to Premiere and OMIE, to be the obligation of Defendant, and declare that Plaintiff has no

  obligation to satisfy such liabilities. Plaintiff further requests this Court to grant a judgment to

  Plaintiff for its costs, as well as its reasonable and necessary attorneys’ fees, spent in pursuit of

  this declaratory judgment action.

         20.     Alternatively, should the Court determine that both Defendant and Plaintiff are

  liable for the Oil Spill, including the amounts sought by OMIE and Premiere, Plaintiff requests

  that this Court declare that Defendant is liable to reimburse Plaintiff for any amount paid by

  Plaintiff towards the liability for the Oil Spill. Plaintiff further requests this Court to grant a

  judgment to Plaintiff for its costs, as well as its reasonable and necessary attorneys’ fees, spent in

  pursuit of this declaratory judgment action.

                V.    SECOND CAUSE OF ACTION: BREACH OF CONTRACT

         21.     Paragraphs 1 through 20 are repeated and incorporated herein by reference.

         22.     By refusing to pay the liabilities which it assumed, Defendant breached the PSA,

  and is liable to Plaintiff for damages equal to any amount Plaintiff has paid toward the liabilities




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  for the Oil Spill, as well as Plaintiff’s attorneys’ fees and costs spent in pursuit of this adversary

  proceeding.

         23.     Therefore, Plaintiff seeks recovery of the aforementioned damages, attorneys’

  fees, expenses and costs.

                VI.    THIRD CAUSE OF ACTION: BREACH OF CONTRACT

         24.     Paragraphs 1 through 23 are repeated and incorporated herein by reference.

         25.     The PSA is a valid and binding contract governed by Texas law. Under that PSA,

  the parties thereto were obligated to complete a final accounting to true-up monies owed by the

  Purchaser. A final accounting statement was submitted by Dune to Trimont pursuant to the PSA

  seeking approximately $70,000 as more specified in such final accounting statement.

         26.     Although Trimont concedes it owes monies under that Final Settlement

  Statement, Trimont has never paid either (i) the amounts demanded, or (ii) the amounts it

  concedes are indisputably owed. Plaintiff has tendered the final settlement statement and no

  monies have been paid to date. Accordingly, Trimont is in breach of the PSA.

         27.     Plaintiff further requests this Court to grant a judgment to Plaintiff for the monies

  owed, its costs, as well as its reasonable and necessary attorneys fees, spent in pursuit of this

  breach of contract action.

                                       VII.        PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court cite

  Defendant to appear and answer the Complaint. Plaintiff further prays that, on final hearing

  hereof, Plaintiff have judgment against Defendant for the following relief:

         (a)     Declaratory judgment declaring the liabilities for the Oil Spill, including those to
                 Premiere and OMIE, to be the obligation of Defendant, and declare that Plaintiff
                 has no obligation to satisfy such liabilities, or in the alternative that Defendant is
                 liable to reimburse Plaintiff for any amount paid by Plaintiff towards the liability
                 for the Oil Spill;


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         (b)     Payment of all monies owed by Trimont to Dune with respect to any obligations it
                 owes or has incurred, which are the obligations of Trimont under the PSA in
                 relation to the claims of OMIE and Premier with regard to the Oil Spill;

         (c)     Payment of all monies owed by Trimont under the Final Settlement Statement;

         (d)     Attorneys’ fees and disbursements incurred in enforcing rights under the PSA;

         (e)     Costs of court, as well as expenses incurred in enforcing the PSA; and

         (f)     Any and all other relief, general or special, at law or in equity, to which Plaintiff
                 may be justly entitled.

  DATE: September 30, 2016.

                                               Respectfully submitted,

                                                       /s/ J. Seth Moore
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                                               COUNSEL TO DAN LAIN, PLAN
                                               TRUSTEE AND REPRESENTATIVE OF
                                               REORGANIZED DEBTORS




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